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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA

                 Veronica L. Duffy United States Magistrate Judge Presiding

 Courtroom Deputy - VMM                            Court Reporter – FTR
 Courtroom - SF #1                                 Date – January 30, 2023
 U.S. Probation Officer – Brian Messner
                                   4:20-CR-40096-001-KES

 UNITED STATES OF AMERICA                                         Jeff Clapper

                  Plaintiff,

                     vs.

 JUDAH CONRAD WAINSCOAT                                         Hannah Moravec

                 Defendant.


 TIME HEARING SCHEDULED TO BEGIN: 10:30 a.m.

 TIME:
10:31 a.m.   Enter initial appearance, arraignment, and detention hearing on the Petition to
             Revoke Supervised Release before the Honorable Veronica L. Duffy, United
             States Magistrate Judge.

             Counsel state their appearances for the record.

             Mr. Clapper reads the allegations listed in the petition to revoke supervised
             release.

             The court informs Judah Conrad Wainscoat of his rights.

             Hannah Moravec is appointed as counsel for the defendant.

             Wainscoat waives his preliminary hearing.

             The court enters a denial to the allegations on behalf of the defendant.

             The defendant requests release.
             The government opposes release.

             The court enters an order of detention
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10:48 a.m.   Court adjourned.
